






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00390-CV






Crystal Sabrina Trujillo and Lee Adcock, Appellants



v.



Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT


NO. 209988-B, HONORABLE RICK MORRIS, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N



	This Court previously abated this appeal for the trial court to make certain findings,
including whether a new trial should be granted.  See Tex. R. App. P. Ann. § 263.405(b), (d)
(West&nbsp;Supp. 2006).  The trial court has found that a new trial is necessary.  Accordingly, without
regard to the merits, we vacate the trial court judgment and remand for a new trial.  See Tex. R. App.
P. 43.2.


					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Vacated and Remanded

Filed:   August 24, 2007


